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9                            UNITED STATES DISTRICT COURT
10                        NORTHERN DISTRICT OF CALIFORNIA
11

12   CHRISTINE WHALEN, KATHERINE
     ARCELL, JOSE BRITO, JAN MARIE          Case No. 3:23-cv-00459-VC
13   BROWN, ROSEMARY D’AUGUSTA,
     BRENDA DAVIS, PAM FAUST,
14   CAROLYN FJORD, DON FREELAND,           NOTICE OF WITHDRAWAL OF COUNSEL
     DONALD FRY, GABRIEL
15   GARAVANIAN, HARRY
     GARAVANIAN, JOSECELYN
16   GARDNER, VALARIE JOLLY,
     MICHAEL MALANEY, LEN
17   MARAZZO, LISA MCCARTHY, TIM
     NIEBOER, DEBORAH PULFER, BILL
18   RUBINSOHN, SONDRA RUSSELL,
     JUNE STANSBURY, CLYDE
19   STENSRUD, GARY TALEWSKY, PAM
     WARD,
20
                      Plaintiffs
21
                 v.
22
     KROGER CO., ALBERTSONS
23   COMPANIES INC., AND CERBERUS
     CAPITAL MANAGEMENT, L.P.,
24
                      Defendants.
25

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28
                               NOTICE OF WITHDRAWAL OF COUNSEL
                                     Case No. 3:23-cv-00459-VC
           Case 3:23-cv-00459-VC Document 101 Filed 10/27/23 Page 2 of 2




1           PLEASE TAKE NOTICE that Christopher A. Nedeau of Nedeau Law PC submits this

2    Notice of Withdrawal of Counsel for plaintiffs Bill Rubinsohn, Brenda Davis, Carolyn Fjord,

3    Christine Whalen, Clyde Stensrud, Deborah Pulfer, Donald Fry, Don Freeland, Gabriel

4    Garavanian, Gary Talewsky, Harry Garavanian, Jan-Marie Brown, Jocelyn Gardner, Jose Brito,

5    June Stansbury, Katherine Arcell, Len Marazzo, Lisa McCarthy, Michael Malaney, Pam Faust,

6    Pam Ward, Rosemary D’Augusta, Sondra Russell, Timothy Niebor, and Valerie Jolly. Mr. Nedeau

7    also requests that his name be removed from all ECF service lists in this action. Plaintiffs remain

8    represented by other counsel in this case, including Joseph M. Alioto, Sr.

9
     October 27, 2023                                      Respectfully submitted,
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                                                           /s/ Christopher A. Nedeau
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                                                           Christopher A. Nedeau (CBN: 81297)
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                                   NOTICE OF WITHDRAWAL OF COUNSEL
                                         Case No. 3:23-cv-00459-VC
